Case 1:15-cv-00321-SKO   Document 534-15   Filed 09/12/23   Page 1 of 3




                EXHIBIT
                             12
        Case: 22-15569, 01/13/2023, ID: 12630158, DktEntry: 30, Page 1 of 74
     Case 1:15-cv-00321-SKO Document 534-15 Filed 09/12/23 Page 2 of 3

                         CASE NOS. 22-15569, 22-15638


                                    IN THE

          United States Court of Appeals
                         FOR THE NINTH CIRCUIT


               G.P.P. INC. D/B/A GUARDIAN INNOVATIVE SOLUTIONS,
                                Plaintiff-Appellant,
                                       V.

                     GUARDIAN PROTECTION PRODUCTS, INC.,
                            Defendant-Appellee,
                       RPM WOOD FINISHES GROUP, INC.,
                               Defendant.
                             _____________

             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
                       CASE NO. 1:15-CV-00321-SKO
      THE HONORABLE SHEILA K. OBERTO, UNITED STATES MAGISTRATE JUDGE

      RESPONSE AND REPLY BRIEF FOR PLAINTIFF-APPELLANT

                  WILSON SONSINI GOODRICH & ROSATI
                         Professional Corporation

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      Case: 22-15569, 01/13/2023, ID: 12630158, DktEntry: 30, Page 12 of 74
    Case 1:15-cv-00321-SKO Document 534-15 Filed 09/12/23 Page 3 of 3


      The district court’s errors cannot be atomized, as Guardian suggests. Each of

the errors alone was prejudicial. Were that not so, GIS would still prevail because

the properly framed question is whether the “cumulative effect” of all errors, taken

together, may have impacted the damages award.           That includes not just the

dreamGUARD errors referenced above but also the court’s decision to permit

Guardian’s Section 6(b) defense, which relates directly to the measure of damages.

Guardian put a legally indefensible damages figure before the jury, anchoring them

to a baselessly low number. Guardian argues that is “harmless” because the jury

awarded $6 million in damages, which is more than Guardian calculated would be

owed under Section 6(b). But Guardian’s calculation purportedly under Section 6(b)

is not the determining fact. Section 6(b) had no place in this litigation, and common

sense dictates that the error improperly and negatively affected the award.

      GIS is entitled to a new trial on damages, uninfected by Section 6(b) or

dreamGUARD. GIS is also entitled to a new trial on its claim for breach of the

Bob’s Agreement because the district court (among other things) refused to apply

this Court’s decision in the first appeal as to that Agreement, and permitted Guardian

to advance a theory concerning lack of consideration that this Court already rejected

– a theory that Guardian continues to advance in its appeal brief. Those errors

resulted in the jury finding against GIS on liability.




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